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                           UNITED STATES DISTRICT COURT

                           MIDDLE DISTRICT OF LOUISIANA

PNC BANK, N.A.                       *                      LEAD CASE CIVIL ACTION
                                     *                      NO. 13-00578
             Plaintiff,              *                      CW/ NOS: 14-00766 AND 15-0025
                                     *
VERSUS                               *
                                     *
IRVIN FAMILY LIMITED PARTNERSHIP,    *                      JUDGE JOHN W. DEGRAVELLES
A LOUISIANA PARTNERSHIP IN           *
COMMENDAM, THE ESTATE OF MELVIN      *
IRVIN, JR. VIEWPOINT DEVELOPMENT AND *
CONSTRUCTION COMPANY, ORLEANS        *
PLACE SUBDIVISION, LLC, SORRENTO     *                      MAGISTRATE JUDGE STEPHEN
LUMBAR CO., INC., and IBERVILLE BANK *                      RIEDLINGER
                                     *
             Defendants.             *

                            REQUEST FOR ORAL ARGUMENT

       NOW INTO COURT, through undersigned counsel, comes Plaintiff, PNC Bank, N.A.

(“PNC Bank”) which, with respect, requests this Honorable Court to allow oral argument on its

Motion for Partial Summary Judgment. PNC Bank’s motion is currently noticed for submission

before the Honorable John W. deGravelles on the 1st day of October, 2015, at 9:30 a.m.

       Defendants, Irvin Family Limited Partnership, the Estate of Melvin Irvin, Jr., Viewpoint

Development and Construction Company, and Orleans Place Subdivision, LLC, filed a second

Rule 12(b)(6) Motion to Dismiss, Rule 12(e) Motion for More Definite Statement, and Rule 19

Motion for Joinder, which this Court has set for oral argument on the 1st day of October, 2015, at

9:30 a.m. PNC Bank believes this Honorable Court would benefit from hearing the oral

argument of counsel on the issues set forth in its Motion for Partial Summary Judgment.
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                                            RESPECTFULLY SUBMITTED,

                                            SEALE, SMITH, ZUBER & BARNETTE, LLP


                                            BY: __/s/ Jessica W. Chapman________________
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                                            ATTORNEYS FOR PNC BANK, N.A.




                                   CERTIFICATE OF SERVICE

       I CERTIFY that a copy of the foregoing pleadings was filed electronically with the Clerk

of Court using the CM/ECF system. Notice of this filing will be sent to all counsel of record by

operation of the court’s electronic filing system. Baton Rouge, Louisiana, this 8th day of

September, 2015.


                                            /s/ Jessica W. Chapman _____________________
                                            Jessica W. Chapman
